       Case 23-30013              Doc 2      Filed 01/09/23 Entered 01/09/23 08:18:51                      Desc Notice of
                                                  Deficiency Page 1 of 1

                                           UNITED STATES BANKRUPTCY COURT
                                              Western District of North Carolina
                                                     Charlotte Division

                                                         Case No. 23−30013
                                                             Chapter 11




In Re: Debtor(s) (name(s) used in the last 8 years, including married, maiden, trade, and address):
      B GSE Group, LLC
          dba Bullerdick GSE, LLC
       14034 Clarendon Point Court
       Huntersville, NC 28078
       Social Security No.:
       Debtor EIN:
       45−3602396




                                      NOTICE OF DEFICIENT FILING

NOTICE IS HEREBY GIVEN that the petition filed on behalf of the above−referenced debtor(s) did not include
the following items:

         Form 206 − Non−Individual Summary of Schedules
         Schedule A/B − List Property post 12−1
         Schedule D − Secured Claims
         Schedule E/F − Claims post 12−1
         Schedule G − Executory Contracts
         Schedule H − Co−Debtors
         Declaration Concerning Schedules
         Statement of Financial Affairs
         Fee Disclosure Statement
         Exhibit 201A Corporation



FURTHER NOTICE IS GIVEN that if the above−referenced items are not filed with the Clerk of this Court within
the time set forth in the Federal Rules of Bankruptcy Procedure and the Local Bankruptcy Rules of this Court, this
case will be subject to dismissal by the Court.



Dated: January 9, 2023                                                                       Steven T. Salata
                                                                                             Clerk of Court


Electronically filed and signed (1/9/23)
